                               CASE 0:13-cr-00235-JRT-LIB Doc. 66 Filed 08/25/22 Page 1 of 1
                               CASE o:rs-cr-035-JRT-LlB Dsc. 65 Filed 08/1810 page 1, of 2
 AO 442 (Rev. I l/l l)   Arrest Warrant




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                                                                                                                                  AUo    2 5 2022
                                                                        for the
                                                                                                                    CLERK, U,S. DTSTRICT COURT
                                                                District of Minnesota
                                                                                                                       ST. PAU.L, MINNESOTA


                       United States of America
                                      v.
                                                                                  b.l           l-o818-lbz-z-b
                                                                                               22-cr -00056-,JRT- I ;        -cr-0023 S-JRT}.LI
                         Michael James Deesan                                     Case   No.                            I3
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                                  Defendant
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                                                            ARREST WARRANT                                                                r-o
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                                                                                                                                          o)
 To:       Any authorized law enforcement officer                                                                                         co


           YOU ARE COMMANDED to arrest and bring before                    a United States magistrate judge       without unnecessary delay
 (name of person to'be    arrested) Michael    James   Deegan                                                                                            ,

 who is accused of an offense or violation based on the followins document filed with the court:

       Indictment                                     Information Superseding Information
                                   Superseding Indictment                                                                           Complaint

       Probation Violation Petition / Supervised Release Violation Petition Violation Notice                                        Order of the Court

 This offense is briefly described as follows:
  Violation of Supervised Release




 Date:    8118/2022



 City and    state:      Minneapolis, MN



                                                                       Return

           This warrant was received on          @arc)                       , arid the person was arrested on      @arc)
 at (city and state)


 Date:
                                                                                                  Arresting oficer's signahre
                  ARRESTED ON
                  ARREsTED BY

                              ,    U.S.MARFHAL


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                            ".'-t"\l                                                                                         u.s. DtsIRlcT GoURT sT. PAUL
